 

Case 5:12-cv-12345-JCO-RSW ECF No. 1, PagelD.1 Filed 05/30/12 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA § Claim No: 1999A16477
§

VS. §
§

Deborah D. Taylor

 

COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article II,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident of Wayne County, Michigan within the jurisdiction of this
Court and may be served with service of process at 2592 Cadillac Blvd., Detroit, Michigan
48214.

The Debt

3. The debt owed the USA is as follows:

A. Current Principal (after application of all $1,573.65
prior payments, credits, and offsets)
B. Current Capitalized Interest Balance and $2,597.07
— Accrued Interest
C. Administrative Fee, Costs, Penalties $0.00
D. Credits previously applied (Debtor payments, $0.00

credits, and offsets)
 

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E. Attorneys fees $0.00
Total Owed $4,170.72

The Certificate of Indebtedness, attached as Exhibit A", shows the total owed excluding
attorney's fees and CIF charges. The principal balance and the interest balance shown on the Certificate
of Indebtedness is correct as of the date of the Certificate of Indebtedness after application of all prior
payments, credits, and offsets. Prejudgment interest accrues at the rate of 8.000% per annum.

Failure to Pay

4, Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A. For the sums set forth in paragraph 3 above, plus prejudgment interest through the date
of judgment, all administrative costs allowed by law, and post-judgment interest pursuant to 28 U.S.C. §

1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.

Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
(248) 352-4340

usa@holzmanlaw.com
 

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U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Deborah D. Taylor

AKA: Ms. Deborah Taylor
10333 E. Outer Drive
Detroit, MI 48224

SSN: —_

I certify that Department of Education records show that the borrower named above is indebted
to the United States in the amount stated below, plus additional interest from 09/10/99.

On or about 10/19/84, the borrower executed promissory note(s) to secure the loan(s) of
$1500.00 from Michigan Higher Education Assistance Authority, Lansing, MI at 8.00 percent
interest per annum. This loan obligation was guaranteed by the Michigan Higher Education
Assistance Authority and then reinsured by the Department of Education under loan guaranty
programs authorized under Title IV-B of the Higher Education Act of 1965, as amended, 20
U.S.C 1071 et seq. (34C.F.R. Part 682). The holder demanded payment according to the terms
of the note(s), and credited $0.00 to the outstanding principal owed on the loan(s). The borrower
defaulted on the obligation on 01/23/86, and the holder filed a claim on the guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $1500.00 to the holder.
The guarantor was then reimbursed for that claim payment by the Department under its
reinsurance agreement. The guarantor attempted to collect the debt from the borrower. The
guarantor was unable to collect the full amount due, and on 06/09/98, assigned its right and title
to the loan(s) to the Department.

Since assignment of the loan, the Department has received a total of $0.00 in payments from all
sources, including Treasury Department offsets, if any. After application of those payments, the
borrower now owes the United States the following:

Principal: $1573.65
Interest: $995.82
Administrative Costs: $0.00
Late fees: $0.00
Total debt as of 09/10/99: $2569.47

Interest accrues on the principal shown here at the rate of $0.34 per day.

Pursuant to 28 U.S.C. S 1746(2), I certify under penalty of perjury that the foregoing is true and
correct.

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Executed on: F / @ a Name: ertet 7% ot} ge k oP
Date . Loan Analyst, Litigation Branch

 
 

 

 

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_ . MICHIGAN HIGHER EDUCATION STUDENT LOAN AUTHORITY
STATE DIRECT STUDENT LOAN PROGRAM

: INTERIM NOTE

 

Date, OCTOBER 19
On AUGUST OF 19.56 or on such avcelerated or extended maturity date as provided for her
the undlera}ned de He s fo pay to Michigan Higher Education Student Loan Authority hereinafter valled the Holder
sum of 317 200.09 together with interest thereon from the date of disbursement of this loan at the rate of _
The undersigned, hereafter called the Maker, shall psy such principal and interest at the office of the Holder in Li
such other place as the Holder hereof shall designate to the Maker in writing in lawful money of the United States of ,

 

 

 

 

 

 

 

 

 

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The Maker acknowledges having read and understond this Interim Note, Including the above diselusure statement ant there

on the reverse side, und acknuwledges recelpt of an exact copy of this Note al the dme of execution of the Note, Principal a
+ Interest if any, ny be paid at maturity or prior tu muturily at the oplion ef the Maker by remitting payment In full or

Mulder uf the Note x monthly repnyment sehedule, The repayment uchedule shall call for an interest churge which does not exe

on this Note and any cosigner on this Note fs equully Hable during the repayment period.

The Maker ucknuwledgey, if Maker and Holder agree, un Install schedule may be led calling for

the mniurity date of this Nole and for Payments which exueed the $600 minimum or five year minimum term. In instances

grace perlod may not be restored; hnwever, the Neker muy at ony Ume refinance this Note to the extent that the Maker may

of uf luast five years but notmore than ten years,

Costs of Loan: The Muker aurees to poy the Holder, In addition to Interest and principal due, an amount equal to the prem

required to pay to the Michigan Guaranteed Student Loan Program in order to have the Note covered by fts insurance provistom

Immedinlely due and payable. The Maker further Bgrees to pay an Origination Fee, authorized by Federal Law, The amount of the

the Origination Fee, calculated on the amount of the loan shull be pald at the time of the Joan disbursement.

If the luun Io dist Jin maltiple lt the amount of f c lum shall be ealeul

disbursement, The amount of the Origination Fee may at the Holier’y option be culeulate

the umount of loan disbursed ut each disbursement,

‘The Insurance Premium and the Origination Fee are refundable only if the loan cheek

multiple installments and the full amount of the Origination Fee is charged on the

. be refunded if cubsequent Installments ore not made, .

Van the amount of lunn disburs:
ul elther on the full amount of the Joan expeels

Js returned to the Holder uncashed except |
first installment, the prorated amount of th:

. Late Chorpe; If the Holder presents the Muler with a Tepayment achedule upon maturity of thls Note, the Maker agrees to puy a late

ment delinguent fur a nerlod exceeding ten days In an amount not exceeding 5% of the Installment payment or $5.00, whichever
shall not be deemed to extond the note due date ur to grant eny period uf prace. .

it Asceluration; The Muker agrees, (i) Hf he or she reduces his ur her course uf study to lesy then half time status or, (2) transfers tu br

je Unley toms of the Michigan Guaranteed Student Loan Program, thut the maturity date of this Note is accelerated. The accelera

+ 7% loun shall be not less than nine monthe nor more than twelve months after the date of the occurrence of either event of accele

maturity date un a loan with un interest rate yrvater than 7% shull be alx months alter the date of the ovcurrence of elther event of ac

Extension: The Maker further agreoy that If the expected complettun uf studies date changes during the perind of this loan and that

half Ume enrollment status at a participating school or non-attendanee at any school ur enrollment at a nowparticipating schoo

maximwn grace perlod, the maturity date of this Note may by extended, The new grace period for louns evidenced hy a Note at a 7

nut be fess than nine months nor move thin twelve months following the new completion af studies uate. The new grace period fo

Note at a rate greater thon 74 shull be six months following the new completion of studies date.

Defermept: Once the maturity date of this Nute occurs, repayment is requirod tu begin, unless the Maker is
vied an for def are

  

 

eligible and upplies ant

of payments us authorized by Federal Law. C: i on the reverse side

vansidered us purt uf this Not,

Maker; The Muker promises to (1) use the proueeds of the lomn evidenced by thls note solely
dance ut the particlputing schol ut which the Maker ju aveepted for enrollment or Iy already
Holder and ty the Michigan Guaranteed Student Lenn Program
event which would cause the Holder to declure this note In default.

If the Muker dies or becomes permanently und totnlly ‘disubled, the Indebtedness shall be pold in full to the Holder by the
Student Luan Program on behill of the Muker, If the Maker whull default on this nnty by reason of delinquency, the unpaid balan
af the Haller, become Immedintely due and puyuble withuul notice on demund and if the Holder shall Ineur any oxtra costs or te
with collections thereof, there shall additionally come due frum the Maker all reayonablo expenses and attorney fees and the Holle
+ for all such sums, In the event of default the Holler may report the default to a credit bureau, The Michigan Guaranteed Student Los
this loan ton colleetion ageney, If this luan Is referred tn a collection agency, subject to the Falr Debt Collestions Practices Act, the j
ta payment of collection costs which de not exceed 25% of the unpald principal and accrued interest.
The Maker acknawledyes that he or she is lerally obliguted, under Section 8, Aut No.
Gough he or she may be under alghteen (18) years of uge. No delay on the part of
hawors, or rights or partial or single exercise thereof, shall constlute u walver of any
‘The borrower righLs, us Iisted on the reverse side,

to pay educatiunal expenges attenda
enrolled on this date und (2) send
of any changes occurring in enroliment status, home uddress or *

77 of the Public Acts of 1980, fur the pay:
the Holder or Guarantor hereof In exercisir
of such powers, options, or rights.

pertain to this loan ani ave incorporated as part uf this Note.

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set Tea. CRANE .
ary [DE TROT stare MUCH OAM

NOTE ENDORSEMENT BY MICHIGAN HIGHER EDUCATION ASSISTANCE AUTHORITY

ar_2b 3.1"

The undersigned, as endorser, guarantees payment of 100 percent of the unpaid principal bulance to the Holder in the

Permits this note to became in default og defined by regulations of the Michigan Higher Education Assistance

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. for, and set over vato the Michigan Higher

Education Assiitanca Authorlly its Interest in MICHIGAN HIGHER EDUCATION ASSISTANCE .

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‘Program,’ Authorized Official 4. 2-2-0 /C CC ay t-

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: ROBERT ZIER Asst, Vice Pres.

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